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In the United States Court for the District of Maryland————L0e® RECEIVED

DEC - 4 2020
i i AT GREENBELT
Nicole Y. Winston CLERK U.S. DISTRICT COURT
12303 Proxmire Drive RT GEN”

Fort Washington, MD 20744
(Prince George’s County)

Plaintiff
PX 20 Vv 3534

(No Jury Requested)

Vv. Civil Action:

 

Prince George’s County Department of Health
Dr. Ernest L. Carter, Health Officer

1701 McCormick Drive, Ste. 200

Upper Marlboro, MD 20774

(Prince George's County)

Defendant

Civil and Constitutional Complaint

1 |, Nicole Yvette Winston, am the Pro Se Plaintiff in this complaint against the Prince George's County

Department of Health for the following causes of actions and claims:

42 U.S.C. § 1983 (civil action for deprivation of rights)

14th Amendment of the U.S. Const. (substantive due process)

4th Amendment of the U.S. Const. (right to privacy)

Article 24 and Article 19 of Maryland Declaration of Rights

Article 5 of the Universal Declaration of Human Rights

45 C.F.R. § 46.116 (requirements for inform consent regarding human subject research)

Md. Health-General Code Ann. § 13-2002 (compliance with federal regulation)
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Negligence (breach of duty provides for the following tort causes of actions)
Battery

Harassment

Intentional infliction of emotional distress

Conspiracy

Jurisdiction and Venue

2 _ This case arises under the United States Constitution and the laws of the United States and presents
federal questions within the Courts subject matter jurisdiction according to 28 U.S.C § 1331 and venue is

proper in the United States District Court of Maryland according 28 U.S.C. § 1391(b)(2).

Background

3. Since July 2017 | have been contact with the Prince George's County Department of Health in regards
to tampering of various purchased products from local stores. | was informed by Debra Freeman by email
on July 12, 2017 that my complaints were a Police matter, however Sgt. Rodney Gause in October 2017
provided by phone that my complaints were a Department of Health matter. In addition to the tampering,
in June of 2018, | informed the DOH of intentional exposure of a biological irritant, however just as with
the tampering, | was not provided with any information nor help. Another contact was made in July of
2019 by certified mail addressed to Dr. Ernest Carter, however nothing has been done in regards to any
of my complaints and the situation still to this day becomes progressively worse. Documents attached to
include the county complaints made via 311 website from June 20, 2017 to February 23, 2020 which is a

total of 72 county complaints.
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4 There are many various sorts of food, products, and even at times prescription and non-prescription
medications that are being tampered with that are purchased at different stores at different times. Some
items are more easily accessible for tampering such as a bottle of lotion, but there has been a number of
sealed products that were tampered as well. The one consistent harm resulting from the tampering is the
drastic loss of facial volume and/or body mass and the effect takes place at the very time of the exposure
or shortly thereafter. | have returned many items to the store purchased with the thought that these
items would be evaluated for problems, however as provided the tampering has only gotten worse.
Because of the various sorts of items, it is my position that these are not manufacturing issues but that |
am the sole subject of this, which means | am being targeted and harassed by what has to involve to some
extent government resources. The constant harm and how | am being harmed were the reasons why |

continued to make contact with the local Department of Health.

5 The health department would either have knowledge of the problems at hand or would investigate
my citizen complaints to inform and help put a stop to what could reasonably be considered an egregious
harm and a form of harassment. Thus, it is my claim that due to the neglect of the Prince George's County
Department of Health to investigate, inform, and help put a stop to the offensive production of tampering
and biological irritant exposure, many of my human, civil, and constitutional rights as provided are being

violated.

6 To help establish the local Department of Health as an appropriate contact, | am also a Medicaid
recipient and my complaints have been provided to physicians for medical care, however | am receiving
insufficient medical care under the state program, which would provide for my conspiracy claim of being

the target for the intentional harm in the manner provided, then | am not provided the necessary

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government help nor the requested medical care. Once again, it is my position that the Department of
Heath would have a duty to investigate, inform, and help stop the issues being complained of. MD Health-
Gen. Code § 3-202 (a) (1) Except as provided in paragraph (2) of this subsection, each county board of
health shall exercise the duties imposed by law on a board of health. MD Health-Gen. Code § 3-202 (d) In
addition to the other powers provided by law and subject to the provisions of this article, each county
board of health may adopt and enforce rules and regulations on any nuisance or cause of disease in the

county.

The Prince George's County Department of Health's website provides:

Vision

A healthy and thriving Prince George’s County that:

° Provides access to quality health care services for all
° Provides policies and services that are culturally appropriate and acceptable
° Partners with individuals, organizations and communities to accept responsibility for disease,

injury and disability prevention and health advancement

° Ensures individuals and communities can achieve the best health possible

Mission

The mission of Prince George's County Health Department is to:

. Protect the public's health

. Assure availability of and access to quality health care services

° Promote individual and community responsibility for the prevention of disease, injury and
disability

https://www.princegeorgescountymd.gov/1939/About-
Us#:~:text=Ensures %20individuals %™20and%20communities%20can%20achieve%20the%20best,for%20th
e%20prevention%200f%20disease %2C%20injury%20and%2Odisability
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Claims and Causes of Actions

7 42 U.S.C. § 1983 (civil action for deprivation of rights)

Every person who, under color of any statute, ordinance, regulation, custom, or usage, of
any State or Territory or the District of Columbia, subjects, or causes to be subjected, any
citizen of the United States or other person within the jurisdiction thereof to the
deprivation of any rights, privileges, or immunities secured by the Constitution and laws,
shall be liable to the party injured in an action at law, suit in equity, or other proper
proceeding for redress, except that in any action brought against a judicial officer for an
act or omission taken in such officer’s judicial capacity, injunctive relief shall not be
granted unless a declaratory decree was violated or declaratory relief was unavailable.
For the purposes of this section, any Act of Congress applicable exclusively to the District
of Columbia shall be considered to be a statute of the District of Columbia.

(R.S. § 1979; Pub. L. 96-170, § 1, Dec. 29, 1979, 93 Stat. 1284; Pub. L. 104-317, title III,
§ 309(c), Oct. 19, 1996, 110 Stat. 3853.)

8 It is my claim that the local Department of Health has a duty of care to its residents to ensure the
protection of good health of its residents. That there is a duty to investigate, inform, and aid in the
prevention of harm of its residents (by way of any food, product or any other sort of contamination.) It is
my position that the local Department of Health breached its duties (as provided) and as a result, | have
been subjected to years of harassment and harm and the harm to include the drastic changes in
appearance. | never have been informed of anything by the local Department of Health as it pertains to
the tampering and biological exposure nor has any of the tampering and intentional exposure ever

stopped.

9 AsauU-S. citizen and a resident of Prince County | have the right to be free of harm from any products
purchased from stores. | also have the right to be free of intentional biological exposure, which creates an

undue burden with severe contamination of hair, body, clothes, and home (my list of county complaints
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attached). Anything (government involved or under the color of law) that puts significant constraints on
liberty (which is the freedom from all restraints except those justly imposed by law, 1990 Black's Law
Dictionary 6th ed.) would be violations under the 14th Amendment and Article 24 of the State
Constitution. It is my claim that the tampering and exposure as provided is a deprivation of liberty rights
under Article 24 of the State Constitution as well as a substantive due process violations under the 14th
Amendment, thus providing for my 1983 claim against the local Department of Health. My addition

constitutional claim is that my 4th Amendment right to privacy is being violated as well.

Establishing Duty of Care under Negligence

10 According to Horridge v. St. Mary's Cty Dept. of Social Services, 854 A2.d 1232, 382 Md. 170 (Md.,
2004), which is a child neglect case in which the Plaintiff, the father of child subject of the case, alleges
that DSS failed to do a thorough investigation and take appropriate action in regards to reported abuse
by the boyfriend and/or child's mother. Under the negligence duty section of the case, the elements for
this cause of action are "(1) that the defendant was under a duty to protect the plaintiff from injury, (2)
that the defendant branched the duty, (3) that the plaintiff suffered actual injury or loss, (4) that the loss
or injury proximately resulted from the defendant's breach of duty." /d. at 1238. This case goes on the

analyze the duty of care required for the facts of this case.

11 As similarly provided for the Horridge case, | am providing that that the Prince George's
Department of Health has aa duty of care to me due to the special relationship that exist by law. My claim

is that the local Department of Health has a duty to investigate, inform, and help prevent the harm
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complained of and that this agency neglected these duties resulting in constitutional deprivations as

provided.

12 My complaint consists of U.S. Constitutional violations thus not subjected to Maryland's Local
Government Tort Claims Act requirements nor is immunity applicable under the 11th Amendment.
Mitchell v. Hous. Auth. of Baltimore City, 200 Md. App. 176, 26 A.3d 1012 (Md. App., 2011) provides under
the State Sovereign Immunity and Immunity of Local Governments in Maryland section that "Irrespective
of the nature of the conduct in which local governments are engaged, they have no judicially-conferred
law immunity from liability for certain types of torts, such as nuisance, or state or federal constitutional

torts or torts based on federal statutory violations." /d. at 1017.

13 The Mitchell case, which is actually a Local Government Tort Claims Act case, provides under the
LGTCA Generally section that on July 1, 1987 the Maryland General Assembly enacted the Local
Government Tort Claims Act (LGTCA), in which it provided for notice requirements for tort claims against

Maryland counties and municipalities. /d. at 1020.

14 The Houghton v. Forrest, 959 A.2d 816, 183 Md. App. 15 (Md. App., 2008), which is another Local
Government Tort Claims Act case provides under section (e) that "The LGTCA applies to suits against a
local government or an employee of a local government occurring on or after July 1, 1987, C.J. § 5-301;
Thomas v Annapolis, 113 Md. App. 440, 457, 688 A2d 448 (1997). An employee is identified as 'any person
who was employed by a local government at the time of the act or omissions giving rise to potential
liability against that person.' C.J. § 5-301(c)(1)."_... "The LGTCA applies to all tort claims, including

intentional and constitutional torts. See id. at 130, 928 A2d 795 (stating that the LGTCA's protections 'does

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not appear to exclude liability for intentional torts'); DiPino 354 Md. at 49-56. 729 A2d 354; Ashton, 339
Md. at 107-08 n. 19, 123-24, 660 A2d 447; see also Lee, 384 Md. at 258, 863 A2d 297 (describing DiPino
and Ashton as '[hJolding that there was coverage under the [LGTCA] for certain intentional and

constitutional torts')".

15 However as provided, the LGTCA application is for state constitutional torts and not for claims that
include federal violations. Espina v. Jackson, 442 Md. 311, 112 A.3d 442 (Md. App., 2015) another LGTCA
case provides that the Court previously referred to constitutional violations as constitutional torts. "As
this Court explained in DiPino v. Davis, we have characterized civil violations of the State Constitution
protections as constitutional torts, which seems to be the common appellation now applied to them."
Case further citing 354 Md. 18, 50, 729 A2d 354, 371 (1999) (citation omitted) and Ashton v Brown, 339
Md. 70, 104, 660 A2d 447, 464 (1995) (referring to a violation of the state constitution as a "constitutional

tort"). Id. at 451.

16 14th Amendment (substantive due process)

Section 1. All persons born or naturalized in the United States, and subject to the
jurisdiction thereof, are citizens of the United States and of the State wherein they reside.
No State shall make or enforce any law which shall abridge the privileges or immunities of
citizens of the United States; nor shall any State deprive any person of life, liberty, or
property, without due process of law; nor deny any person within its jurisdiction the equal
protection of the laws.

17 "Doctrine that due process clauses of the Fifth and Fourteenth Amendments to the United States
Constitution require legislation to be fair and reasonable in content as well as application. Such may be

broadly defined as the constitutional guarantee that no person shall be arbitrarily deprived of his life,

liberty or property. The essence of substantive due process is protection from arbitrary and unreasonable
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action.” Case cited Jefferies v. Turkey Run Consolidated School Dist., C.A. Ind., 492 F.2d 1, 3 (1990 Black's

Law Dictionary 6th ed.).

18 1983 imposes liability for violations of rights protected by the U.S. Constitution. Waybright v.
Frederick County, Md. 528 F.3d 199 (4th Cir., 2008) section A. The substantive due process clause of the
14th Amendment "was intended to protect government from abusing its power, or employing it as an
instrument of oppression." /d., section A citing the DeShaney case 489 U.S. at 196, 109 S. Ct. 998.
Furthermore, where the State is in a special relationship to a private individual, it acquires a duty to act
on that individual's behalf and its failures to act are measured on a deliberate indifference standard. /d.,
sec. B, referencing DeShaney v. Winnebago County Dep't of Social Servs., 489 U.S. 189, 197-200, 109 S.

Ct. 998, 103 L.Ed.2d 249 (1989).

19 It is my claim that the local Department of Health has a duty of care to its residents to ensure the
protection of good health of its residents and that there is a duty to investigate, inform, and aid in the
prevention of harm of its residents (by way of any food, product or any other sort of contamination.) It is
my position that the local Department of Health breached its duties as provided and as a result, | have
been subjected to years of harassment and harm and the harm to include the drastic changes in
appearance. | never have been informed of anything by the local Department of Health as it pertains to
the tampering and biological exposure nor has any of the tampering and intentional exposure ever

stopped.

20 As a result my substantive due process rights under the 14th Amendment are being violated due

to the Department of Health's neglect to act accordingly under a government duty, thus a violation of my

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liberty interests (no person shall be denied life, liberty or property without due process of law).
"Substantive due process protects fundamental rights created by the Constitution." Samuels v.
Tschechtelin, 135 Md. App. 483 , 763 A.2d 209 (Md. App. 2000). Id. at 237 under the substantive due
process section citing Huang v. Board of Governors of Univ. of N.C., 902 F.2d 1134, 1142 n. 10 (4th
Cir.1990) (citing Regents of Univ. of Mich. v. Ewing, 474 U.S. 214, 229-30, 106 S.Ct. 507, 515-16, 88 L.Ed.2d
523 (1985). Case further provides under the 1983 section that "the right to due process of law is quite
clearly established by the Due Process Clause, and thus there is a sense in which any action (or inaction)
that violates that Clause (no matter how unclear it may be that the particular action (or inaction) is a

violation) violates a clearly established right." /d. at 249.

14th Amendment liberty interests

21 Samuels v. Tschechtelin, 135 Md. App. 483 , 763 A.2d 209 (Md. App. 2000) provides that under
Supreme Court jurisprudence, in addition to those freedoms enumerated in the federal Bill of Rights, an

individual's 14th Amendment liberty interest includes bodily integrity. /d. at 238.

22 "Bodily integrity is the inviolability of the physical body and emphasizes the importance of personal
autonomy, self-ownership, and self-determination of human beings over their own bodies. In the field of
human rights, violation of the bodily integrity of another is regarded as an unethical infringement,
intrusive, and possibly criminal." Wikipedia. An August 18, 2018 article from the Child Rights International

Network website provides,

Everyone, including children, has the right to autonomy and self-determination over their
own body, and the only person with the right to make a decision about one’s body is
oneself—no one else. This is the principle of bodily integrity, which upholds everyone’s

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right to be free from acts against their body which they did not consent to. Practices that
violate a person’s bodily integrity can range from piercing a baby girl’s ears or being
exposed to toxic chemicals without one’s knowledge, to forms of violence such as rape or
medical treatment administered against a patient’s wishes.

https://home.crin.org/readlistenwatch/stories/2020/5/6/the-three-ws-of-childrens-

bodily-integrity?rq=body%2Ointegrity
23 As provided, the tampering that has been exposed by various sorts of food and consumer
products has resulted in the drastic changes of appearance. There is instant loss of facial volume and
sometimes a reduction in body mass as well as hormonal changes that has resulted in a much smaller
feminine physique. These are changes to my body that | did not consent to which would provide for my
claims under 45 C.F.R. § 46.116 (general requirements for informed consent regarding human subject
research) and Md. Health-General Code Ann. § 13-2002 (compliance with federal regulations regarding

human subject research).

24 Just as with the product tampering, | have the right to be free from exposure of any biological
irritant and such ongoing exposure compromises my liberty interest under the 14th Amendment. The
unknown irritant at hand is quite potent and seems very intentional with the constant re-exposure that
has been for over a year now as been noted on calendars. The irritant, which is invisible to the eye and is
very irritable, gets into everything such as hair and clothes and does not dissipate on its own without some
sort or intense cleaning or washing. If is on your person when you come into the house, it contaminates
everything; meaning the furniture, walls, rugs, and even papers. All in which | take time, multiple days out
of the week, to vigorously clean, wash, and disinfect. This sort of cleaning is extremely aggravating and

not so healthy with the constant exposure to cleaning chemicals.

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25 4th Amendment (right to privacy)

As a supporting 4th Amendment case, | am providing King v. Rubenstein, 825 F.3d 206 (4th Cir.,
2016), which is a case that provides for an inmate's unwanted medical procedure. Case law provides that
the 4th Amendment protects “ '[t]he right of the people to be secure in their persons ... against
unreasonable searches and seizures.' U.S. Const. amend. IV. The applicability of the 4th Amendment turns
on whether 'the person invoking its protection can claim a ‘justifiable,’ a ‘reasonable,’ or a ‘legitimate
expectation of privacy’ that has been invaded by government action.’ " /d. at 214 citing Hudson v. Palmer
, 468 U.S. 517, 525, 104 S.Ct. 3194, 82 L.Ed.2d 393 (1984) (quoting Smith v. Maryland , 442 U.S. 735, 740,

99 S.Ct. 2577, 61 L.Ed.2d 220 (1979).

26 The constant tampering, which is every single day, is emotionally hurtful and extremely
aggravating. The harm, which | also consider a form of harassment has not only damaged me physically,
but is psychologically disturbing to me as well. When | take the time and spend the money to invest in
myself, all the effort is then immediately ruined with the product tampering. The changes are immediate
and drastic; providing for a less attractive appearance, even an emaciated look at times. With the everyday
exposure, the loss of facial volume has not returned resulting in permanent loss as will be noticeable in
available pictures. Along with the above stated federal and state violations, | am also providing for the

claims of battery, harassment, and intentional infliction of emotional distress.

27 In regards to the biological irritant, the exposure is constant as well as very potent and takes
seriously aggressive cleaning to clear up. | am also providing that this is a nuisance along my 14th

Amendment substantive due process violation claim. According to 1990 Black's Law Dictionary 6th ed., a

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public nuisance is by act or failure to perform a legal duty, intentionally causing and permitting a condition
to exist which injuries or endangers the public health, safety or welfare. As provided in Maryland case of
Jesmer v. Town of Denton (Md. App. 2019), pg. 36, a public nuisance was similarly defined as "an
unreasonable interference with a right common to the general public, such as a condition dangerous to
health, offensive to community moral standards, or unlawfully obstructing the public in the free use of
public property..." citing the public nuisance definition of Black's Law Dictionary (7th ed. 1999) at 1095.

pg. 36.

28 Once again, in regards to county complaints made regarding the biological irritant, the local
Department of Health has a duty to investigate, inform, and help prevent a public nuisance harm from
happening again. However, just as with the product tampering, | have never been informed of anything

nor have | received any help to keep the intentional exposure from happening again.

29 Article 24 of Maryland Declaration of Rights provides "That no man ought to be taken or
imprisoned or disseized of his freehold, liberties or privileges, or outlawed, or exiled, or, in any manner,
destroyed, or deprived of his life, liberty or property, but by the judgment of his peers, or by the Law of

the land."

30 Article 19 of Maryland Declaration of Rights provides "That every man, for any injury done to
him in his person or property, ought to have remedy by the course of the Law of the Land, and ought to
have justice and right, freely without sale, fully without any denial, and speedily without delay, according

to the Law of the Land."

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31 The Universal Declaration of Human Rights Article 5 provides that "No one shall be subjected to

torture or to cruel, inhuman or degrading treatment or punishment."

32 45 C.F.R. § 46.116 (general requirements for informed consent regarding human subject research)
and Md. Health-General Code Ann. § 13-2002 (compliance with federal regulations regarding human
subject research). | did not consent nor would | ever consent to such inhuman treatment. This production
that intentionally exposes me to harm, then to receive poor medical care, significantly hinders me from

living a healthy, happy, and productive life.

33 Negligence according to Horridge v. St. Mary's County Dept. of Social Services, 854 A.2d 1232, 382
Md. 170 (Md. 2004) are the elements of "(1) that the defendant was under a duty to protect plaintiff from
injury, (2) that the defendant breached the duty, (3) that the plaintiff suffered actual injury or loss, and

(4) that loss or injury proximately resulted from the defendant's breach of duty." /d. at 1238.

34 Battery in Nelson v. Carroll, 735 A.2d 1096, 355 Md. 593 (Md. 1999) provides that a battery

"occurs when one intends a harmful or offensive contact with another without consent." /d. at 1099.

35 As a supporting battery case, U.S. v. Charters, 829 F.2d 479 (C.A.4 (Va.), 1987), which provides for
the individual's interests of a person held in a correctional institute. Case establishes that forcible
medication with antipsychotic drugs implicates individual rights to freedom from physical invasion and

freedom of thought as well as the right to privacy protected by the Constitution and the common law.

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36 Case further goes on, under the individual's interests section, to provide that "the right to be free
of undesired physical touching traces its origins to the English common law of the middle thirteenth
century, F.W. Maitland, The Forms of Action at Common Law 40, 43, 53 (1985 ed.), and today is reflected
in the tort of battery which protects the individual against even the slightest unconsented touching. W.
Keeton, D. Dobbs, R. Keeton, D. Owen, Prosser and Keeton on The Law of Torts Sec. 9 p. 39 (Sth ed. 1984).
The right to be free of unwanted physical contact and its ancient common law origins has been recognized

by the Supreme Court:"

37 "No right is held more sacred, or is more carefully guarded, by the common law, than the right of
every individual to the possession and control of his own person, free from all restraint or interference of
others, unless by clear and unquestionable authority of law." Citing to Union Pacific Railway Co. v.

Botsford, 141 U.S. 250, 251, 11 S.Ct. 1000, 1001, 35 L.Ed. 734 (1890)."

38 "The right to avoid unwanted touching of one's person forms the basis of the doctrine of informed
consent. The doctrine of informed consent provides that a patient has a right to be informed of the value
and possible consequences of a treatment and to refuse or consent to that treatment. The right to be
free of unwanted physical invasions has been recognized as an integral part of the individual's
constitutional freedoms, whether termed a liberty interest protected by the Due Process Clause, or an
aspect of the right to privacy contained in the notions of personal freedom which underwrote the Bill of
Rights. The right to refuse medical treatment has been specifically recognized as a subject of constitutional

protection."

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39 As provided, | did not consent, nor would | ever, to such inhumane and degrading treatment and
my requests to have the act stopped have not been respected, thus providing for my violations claims
under 45 C.F.R. § 46.116 (general requirements for informed consent regarding human subject research)
and Md. Health-General Code Ann. § 13-2002 (compliance with federal regulations regarding human

subject research).

40 Harassment in Galloway v. State, 781 A.2d 851, 365 Md. 599 (Md. 2011), provides for Maryland

Code, (1957, 1996 Repl.Vol., 2000 Cum.Supp.), Article 27, § 123, the harassment statute, provides:

(a) Course of conduct defined.—In this section "course of conduct" means a persistent
pattern of conduct, composed of a series of acts over a period of time, that evidences a
continuity of purpose. (b) Applicability.—This section does not apply to any peaceable
activity intended to express political views or provide information to others. (c) Prohibited
Conduct.—A person may not follow another person in or about a public place or
maliciously engage in a course of conduct that alarms or seriously annoys another person:
(1) With intent to harass, alarm, or annoy the other person; (2) After reasonable warning
or request to desist by or on behalf of the other person; and (3) Without a legal purpose.

41 Intentional infliction of emotional distress in Carter v. Aramark, 153 Md. App. 210, 835 A.2d 262
(Md. App. 2003) provides elements of IIED as 1) intentional or reckless conduct, 2) that is also extreme
and outrageous, 3) with a casual connection between the wrongful conduct and the emotional distress,
and 4) results in severe emotional distress. /d. at 282. According to § 74 of the 2006 Corpus Juris Secundum
"any recovery for intentional infliction of emotional distress must be reasonable and justified under the
circumstances. Liability ensuing only when the conduct is extreme." Furthermore, "it must be wanton and
willful, evoking outrage and revulsions, and so egregious that an average member of the community

would regard the conduct as an extraordinary transgression of the bounds of socially tolerable conduct

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and a complete denial of the plaintiff's dignity as a person, or of such serious import as to naturally give
rise to such intense feelings of humiliation, embarrassment, fright, or extreme outrage as to cause severe
emotional distress." (Various sorts of medical help has been an ongoing issue, however my concerns
pertaining to this case, which are severely aggravating and infuriating, have been provided to my

primary care physician for many years now.)

42 Conspiracy as defined in Black's Law Dictionary (6th ed. 1990) provides circumstantial evidence
as the proof of certain facts and circumstances in a given case, from which the Court may infer other
connected facts. Case cited, Foster v, Union Starch & Refining Co., Ill.App.2d 346, 137 N.E.2d 499, 502.
Chain conspiracy, 229, is defined as a conspiracy consisting of different activities carried on in a chain-like
manner, which serves in the accomplishment of the overall conspiracy. Case cited, Bolden v. State, 44 Mad.
App. 643, 410 A.2d 1085, 1091. | am also providing the supporting case of Robb v. Wancowicz, 705 A.2d
125, 119 Md. App. 531 (Md. App. 1997), which defines civil conspiracy as "a combination of 2 or more
persons by an agreement or understanding to accomplish an unlawful act to use unlawful means to
accomplish an act in itself illegal with the further requirement that the act or the means employed must
result in damages to the Plaintiff." /d. at 126. (As provided, for years | have been subjected to the harm

and harassment indicated with no help in stopping or reversing the harm.)

Tolling of the Statute of Limitations

43 | am filing this lawsuit due to the years of neglect in regards to harm and harassment as provided

in this lawsuit. The Annotated Code of MD, Courts and Judicial Proceedings, § 5-101 (amended 1991)

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provides that a civil action of law shall be filed within 3 years from the date it accrues, however | am
asserting the 1) discovery rule, 2) continuing harm theory, and 3) fraud as exceptions in having the statute

of limitations toll for all my claims and causes of actions.

44 Rounds v. Maryland-National Capital Park, 109 A.3d 639, 441 Md. 621 (Md. 2015), an easement
case, provides, a claim accrues generally when the plaintiff suffers the actionable harm. However, the
"discovery rule" is an exception to the rule, which tolls "the accrual date of the action until such time as
the potential plaintiff either discovers his or her injury, or should have discovered it through the exercise
of due diligence." /d. at 658. Case cited, Poole v. Coakley & Williams Const., Inc., 423 Md. 91, 131 A.3d
212, 236 (2011). (As provided, | submitted county 311 complaints from June 20, 2017 to February 23,
2020. Additional contact was made by email (dlfreeman@co.pg.md.us) on July 12, 2017 in which we
later spoke by phone, by email (djlittle@co.pg.md.us) on June 1, 2018 in which we later spoke by phone,
by certified letter mailed to Dr. Ernest Carter dated July 22, 2019, and by email (djlittle@co.pg.md.us)
on July 25, 2019 in which we later spoke by phone. Within these contacts, | was not informed about
anything in regards to the harm and nothing has been done to stop the harm and harassment for

happening again.)

45 Macbride v. Pishvaian, 937 A.2d 233, 402 Md. 572 (Md. App. 2007), a deceptive trade practices
case provides, "This Court and Court of Special Appeals have recognized the “continuing harm" or
“continuo us violation" doctrine, which tolls the statute of limitations in cases where there are continuous
violations. Cases cited, Shell Oil Co. v. Parker, 265 Md. at 636, 291 A.2d 67 and Edwards v. Demedis, 118
Mad. App. 541, 562, 703 A.2d 240, 250 (1997). "Under this theory, violations that are continuing in nature

are not barred by the statute of limitations merely because one or more of them occurred earlier in time."

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Case cited, Shell Oil Co. v. Parker, 265 Md. 636, 291 A.2d at 67. (Since my contact with the Prince George's
County Department of Health, | have been subjected to ongoing harm and harassment as noted on

available calendars.)

46 Bacon v. Arey, 40 A.3d 435, 203 Md. App. 606 (Md. App. 2012), an easement case, provides, "One
general exception to the accrual of the statute of limitations occurs in situations in which a defendant
fraudulently conceals the cause of action from the plaintiff 'so as to prevent its discovery by the exercise
of due diligence.’ /d. at 463. Bacon v. Arey goes on to provide that "CJP § 5-203 specifically provides: ‘If
the knowledge of a cause of action is kept from a party by the (fraud), the cause of action shall be deemed
to accrue at the time the party discovered, or by exercise of ordinary diligence should have discovered
the fraud.'" Id. at 463. (I have not been informed in regards to anything about the harm and harassment
by the County Department of Health nor have | ever consented to any sort of programs or operations of
harm or harassment, which violates my human, civil, and constitutional rights as provided as well as
45 C.F.R. § 46.116 (requirements for inform consent regarding human subject research claims) and the

Md. Health-General Code Ann. § 13-2002 (compliance with federal regulations).

RK KK KK KK

47 In conclusion | have a Social Security Disability status, therefore | am seeking a fee waiver in

regards to complaint filing cost.

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Prayer for Relief

48 Seeking monetary damages in the amount of $400,000 as well as equitable remedies to include
appropriate injunctions and full disclosure of all parties involved and sources of funding within the Prince

George's County Department of Health's knowledge.

49 Due to the many years of neglect in investigating the tampering and biological irritant exposure,
lack of information pertaining to such harm, and no help provided in stopping the harm and harassment,
| am seeking $400,000 in noneconomic damages, which would be the maximum amount of damages
allowed under the LGTCA for an individual claim (LGTCA referenced only for the purposes of assessing and
analyzing my damages). The 2020 Maryland cap for noneconomic damages is $875,000. Md. Code Ann.

Cts. Jud. Proc. § 11-108.

50 This referencing case, Bd. of Cnty. Comm'rs of St. Mary's Cnty. v. Marcas, LLC, 415 Md. 676 (4 A.3d
946 (Md., 2010), actually falls under LGTCA provides for Appellee plaintiff's negligence claim that sub-
surface gas and other volatile compounds migrated from the adjacent landfill property onto plaintiff's
property. The plaintiff asserts that each day of contamination should be considered separate claims for
damages, while the local government defendant argued that the sub-surface migration over time amounts
to one occurrence. /d. at 947-48. As of this day, § 5-303 (a)(1) of the LGTCA provides for monetary caps of
400,000 per individual claim and $800,000 per total claims arising from the same occurrence. The terms
"individual claim" and "same occurrence" are not defined under LGTCA nor does it distinguish from
economic and non-economic damages. 4 A.3d 951 and see Espina v. Jackson, 442 Md. 311, 112 A.3d 442
(Md. App., 2015), under Aggregation of Claims section 112 A.3d 464. The Court concluded in this landfill

property case that the continuous gas and compound exposure occurred under steady and frequent

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intervals, thus it would be considered one continuous same occurrence, one claim, under C.J. § 5-303(a).

4A.3d 957.

51 In regards to my case, from June 20, 2017 to February 23, 2020, | submitted 72 county complaints
in regards to ongoing tampering and biological exposure. There has been various sorts of food and product
purchases involved with different location purchases and the biological irritant as well has been exposed
in multiple ways. Therefore, it is my position the neglect as provided that has resulted in the harm as

provided would merit a damages amount of at least one claim, therefore | am seeking $400,000.

52 Along with the years of ongoing harm and harassment, | have not been informed as to what | have
been exposed to and obviously did not consent to such inhumane and degrading treatment. Furthermore,
| have not received any sort of authoritative help to stop such things from happening and receive
insufficient medical care to completely reverse the harm being done. Aesthetically, the tampering has
altered my hormones and has drastically reduced my facial volume and body mass and any latent, future,
and long-term effects are unknown. The biological irritant exposure takes a tremendous amount of time
to clean and clear up when exposed to person and personal effects such as my home and papers. This
being done time and time again has resulted in extreme aggravation and anger and has compromised my
sense of security and_ safety, resulting in a diminished quality of life.
www.collinsdictionary.com/dictionary/english/quality-of-life - the general well-being of a person or
society, defined in terms or health and happiness. Cases herewithin this complaint obtained from the

Public Library of Law website; www.plol.org

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53 Attached documents include my July 22, 2019 letter that was mailed by certified mail to the Prince
George's County Health Director Dr. Ernest L. Carter, a July 12, 2017 email from Debra Freeman of the
Food Protection Office of the local health department, my September 14, 2017 email to Sgt. Rodney Gause
of the Prince George's County Police (we spoke later by phone), my February 24, 2018 complaint to
Safeway's Corporate office, my April 4, 2019 chat email with Target, a July 25, 2019 string email with Dwan
Little of the Prince George's County Department of Health with county complaints attachment, a June 1,
2018 email with Dwan Little with attachments, my updated list of 72 county complaints, May 4, 2020 /
January 23, 2020 / January 13, 2020 county complaint responses (others are saved in my email), before
and after pictures that shows the drastic loss of facial volume, October 6, 2017 and October 14, 2010
medical letters from my primary care physical whom | intend to include as a witness this complaint, and
my Social Security letter. | am not able to do absolutely anything due to the constant harassment and
harm, to include anything socially, and the intentionally created problems also creates divisiveness with

immediate family members, therefore | am seeking to recover the provided damages and injunctive relief.

12/04/2020 Td iads Y. (WD ini

Dat Nicble Y. Winston; Prd Se Plaintiff
12303 Proxmire Drive
Fort Washington, MD 20744
(301) 747-8785

 

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Affidavit

The State of Maryland 7 ) qa. j
7), uth VI Va

] UT

 

Prince George's County

|, Nicole Yvette Winston of Fort Washington, MD, am submitting this Civil and Constitutional Complaint
that is true and accurate to the best of my recollection. | certify that:

(1) this legal document is not for any improper purpose, such as harassment;
(2) that the claims and other legal contentions therein are warranted by existing law; and

(3) that the allegations and other factual contentions have evidentiary support or, if specifically so
identified, are likely to have evidentiary support after a reasonable opportunity for further investigation
or discovery. FRCP Rule 11 (b)

SUBSCRIBED AND SWORN TO

BEFORE ME, on the 4 De cnnSex, R620

Date

 

ee

Notary Public

My commission expires [0 / O2 [A024

 

EUISHIK KIM
NOTARY PUBLIC
PRINCE GEORGE'S COUNTY
MARYLAND
MY COMMISSION EXPIRES 10-02-2023

 

 
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In the United States Court for the District of Maryland

Nicole Y. Winston

12303 Proxmire Drive

Fort Washington, MD 20744
(Prince George’s County)

Plaintiff

Prince George’s County Department of Health
Dr. Ernest L. Carter, Health Officer

1701 McCormick Drive, Ste. 200

Upper Marlboro, MD 20774

(Prince George's County)

Defendant

Civil Action:

 

Certificate of Service

| certify that by/on

| will serve (by certified mail restricted delivery) this Civil and

Constitutional Complaint pursuant to FRCP Rule 4(j) to agency Defendant, Prince George's County
Department of Health, by way of its Health Officer Dr. Ernest L. Carter, located at 1701 McCormick

Drive, Ste. 200, Upper Marlboro, MD 20774.

 

Nicole Y. Winston, Pro Se Plaintiff
12303 Proxmire Drive

Fort Washington, MD 20744
(301) 747-8785
